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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

CHECKPOINT SYSTEMS, INC.,                      :              CIVIL ACTION
        Plaintiff                              :
                                               :
       vs.                                     :              NO. 01-2223
                                               :
ALL-TAG SECURITY S.A., et al.,                 :
         Defendants                            :


                                         JUDGMENT

               AND NOW, this 5th day of March, 2019, judgment is hereby entered in favor of
Plaintiff Checkpoint Systems, Inc., and against Defendants All-Tag Security S.A., All-Tag
Security Americas, Inc., Kobe Properties SARL, and Sensormatic Electronics Corporation,
jointly and severally, in the amount of $276,164.64.




                                                       KATE BARKMAN
                                                       Clerk of Court


                                             By:       s/ Terry Milano
                                                       Deputy Clerk
